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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

]N RE BROILER CHICKENANTITR UST Case: l:l6-cv-08637
L[TIGA TION
Honorable Thornas M. Durkin
Honorable Jeffrey T. Gilbert

 

THIS DoCUMENT RELATES`TO:

 

 

ALL ACTIONS
Rule 502(¢1[ ORDER
l. The production of any material or information, Whether inadvertent or otherwise,

shall not be deemed to waive any privilege or Worl<-product protection in this litigation or in any

other federal or State proceeding

2. Nothing contained herein is intended to or Shall Serve to limit a party’s right to
conduct a review of any material or information for relevance, responsiveness, and/or

segregation of privileged and/or protected information before production

3. Thi's Order is subject to the Order Regarding Production of Electronically Stored
Information and Paper Documents, leII(B)(l) (“Clavv’oacks Before Depositions”) (See Dkt.

45 9).

4. ,, This Order shall be interpreted to provide the maximum protection allowed by

    

F ederal Rule of Evidence 502(d).

So oRDERED. , C>//
Dated: L/`// V , 201? //M| / . ,W -
rioN. JBFFREW "r. GILBERT
Jl:mited States Magistrate Judge

